 Case 2:05-cv-70990-BAF-WC ECF No. 3 filed 04/04/05                      PageID.45      Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


NEW WORLD AVIATION, INC.
a New Jersey Corporation,
                                                                Case No. 05-70990
        Plaintiff,                                              Hon. Julian Abele Cook, Jr.
                                                                Magistrate Judge R. Steven Whalen
v.

LA-VAN HAWKINS,
an individual,

      Defendant.
________________________________________/

            STATEMENT OF DISCLOSURE OF CORPORATE AFFILIATIONS
                          AND FINANCIAL INTEREST

Pursuant to LR 83.4, New World Aviation, Inc. makes the following disclosure:
[NOTE: A negative report, if appropriate, is required.]

     1. Is said corporate party a subsidiary or affiliate of a publicly owned corporation?

        Yes ___         No _X_

        If the answer is “Yes,” list below the identity of the parent corporation or affiliate and the
        relationship between it and the named party:



     2. Is there a publicly owned corporation or its affiliate, not a party to the case, that has a
        substantial financial interest in the outcome of the litigation?

        Yes ___         No _X_

        If the answer is “Yes,” list the identity of such corporate or affiliate and the nature of the
        financial interest:



s/ Jonathan T. Walton, Jr.                                                       April 4, 2005
Signature of Counsel                                                             Date
